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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)

                                                            Ref. Docket. No. 475


             ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
             YOUNG CONAWAY STARGATT & TAYLOR, LLP AS CO-COUNSEL
              FOR THE DEBTORS, EFFECTIVE AS OF THE PETITION DATE

         Upon consideration of the application (the “Application”) 2 of the Debtors for entry of an

order, pursuant to section 327(a) of the Bankruptcy Code, Bankruptcy Rule 2014, and Local Rule

2014-1, authorizing the retention and employment of Young Conaway as co-counsel to the

Debtors, effective as of the Petition Date, as more fully set forth in the Application; and upon


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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
     Application.
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consideration of the Application and all pleadings related thereto, including the Morton

Declaration and the Orlofsky Declaration; and it appearing that this Court has jurisdiction to

consider the Application pursuant to 28 U.S.C. §§ 1334(b) and 157, and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware dated as of

February 29, 2012; and it appearing that venue of these Chapter 11 Cases and the Application in

this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this matter

is a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that this Court may enter a

final order consistent with Article III of the United States Constitution; and it appearing that notice

of the Application has been given as set forth in the Application, and that such notice is adequate

and no other or further notice need be given; and this Court finding that Young Conaway is a

“disinterested person,” as defined in section 101(14) of the Bankruptcy Code and as required by

section 327(a) of the Bankruptcy Code, because (i) Young Conaway has no connection with the

Debtors, any creditors, or other parties in interest, their respective attorneys and accountants, or

the Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”) or any of

its employees, except as set forth in the Morton Declaration; (ii) Young Conaway is not a creditor,

equity security holder, or insider of the Debtors; (iii) none of Young Conaway’s partners or

employees are or were, within two years of the Petition Date, a director, officer, or employee of

the Debtors; and (iv) Young Conaway does not hold, and has neither represented nor represents,

an interest materially adverse to the interests of the Debtors’ estates or of any class of creditors or

equity security holders by reason of any direct or indirect relationship to, connection with, or

interest in, the Debtors, or for any other reason; and this Court having found and determined that

the relief sought in the Application is in the best interests of the Debtors, their estates, their

creditors, and all other parties in interest; and that the legal and factual bases set forth in the




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Application establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

       1.      The Application is GRANTED as set forth herein.

       2.      In accordance with section 327(a) of the Bankruptcy Code, the Debtors are hereby

authorized to retain and employ Young Conaway as their counsel on the terms set forth in the

Application and the Morton Declaration, effective as of the Petition Date.

       3.      Young Conaway shall be entitled to allowance of compensation and reimbursement

of expenses upon the filing and approval of interim and final applications pursuant to the

Bankruptcy Rules, the Local Rules, and such other orders as this Court may direct. Young

Conaway intends to, and shall, make a reasonable effort to comply with the U.S. Trustee’s requests

for information and additional disclosures as set forth in the Appendix B—Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.

§ 330 by Attorneys in Larger Chapter 11 Cases, effective as of November 1, 2013 (both in

connection with this Application and the interim and final fee applications to be filed by Young

Conaway in these Chapter 11 Cases).

       4.      Notwithstanding anything in the Application to the contrary, Young Conaway shall

(i) to the extent that the Firm uses the services of contract attorneys, independent contractors or

subcontractors (collectively, the “Contractors”) in these Chapter 11 Cases, pass through the cost

of such Contractors art the same rate that Young Conaway pays the Contractors; (ii) seek

reimbursement for actual costs only; (iii) ensure that the Contractors are subject to the same

conflicts checks as required for Young Conaway; and (iv) file with this Court such disclosures

required by Bankruptcy Rule 2014.




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       5.      Young Conaway shall provide five (5) business days’ notice to the Debtors and the

U.S. Trustee in connection with any increase of the hourly rates listed in the Application. The

U.S. Trustee and the Debtors retain all rights to object to any rate increase on all grounds,

including, but not limited to, the reasonableness standard provided in section 330 of the

Bankruptcy Code, and the Court retains the right to review any rate increase pursuant to section

330 of the Bankruptcy Code.

       6.      Young Conaway shall make all required disclosures and, in the event a material

conflict arises, take all required actions to address and resolve the conflict.

       7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Application.

       8.      This Court shall retain jurisdiction over any and all matters arising from or related

to the interpretation or implementation of this Order.




        Dated: January 10th, 2025                          JOHN T. DORSEY
        Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




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